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Case 8:13-cV-01884-.]VS-DF|\/| Document 1 Filed 12/03/13 Page 1 of 11 Page |D #q

G. Thomas Martin, III (SBN 218456 q _: 5
PRICE LAW GROUP, APC ) aaa m »3 ve 2 UM

15760 Ventura Blvd., Suite 1100
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Direct Dial: (818) 907~2030
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tom@plg awflrm.com

Attc)rneys for Plaintiff,
MARCIA ANDREA KATZ

 

UNITED S'I`ATES DISTRIC'I` COURT
CENTRAL DISTRICT OF CALIFORNIA

§

 
 

  
 

MARCIA ANDREA KATZ,
_ , COMPLAINT AND DEMAND FOR
Plamtlff, .]URY TRIAL
vs. (Unlawf`ul I)ebt Collection Practices)

Demand Does Not Exceed $10,000
STANISLAUS CREDIT CONTROL
SERVICE, INC.; and DOES 1 to 10,

 

 

inclusive,
Defendants.
COMPLAINT
IN’I`RODUC'I`ION
1. 'I`his is an action for actual and Statutc)ry damages brought by

plaintiff MARCIA ANDREA KA'I`Z, an individual consumer, against defendant
STANISLAUS CREDIT CONTROL SERVICE, INC. (hereinafter referred to as

“STANISLAUS” or “Defendant”) for Vi€)lations of the Fair Debt Collection

 

..1,

COMPLAINT FOR DAMAGES

 

 

 

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Case 8:13-cV-01884-.]VS-DF|\/| Document 1 Filed 12/03/13 Page 2 of 11 Page |D #:

Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter “FDCPA”), Whicb prohibit
debt collectors from engaging in abusive, deceptive, and unfair practices
VENUE AND JURISDICTION

2. Jurisdiction of this court arises under 28 U.S.C. § 1331 and § 1337.
Venae in this District is proper in that the Defendant transacts business here and
the conduct complained of occurred here.

PARTIES

3. Plaintiff MARCIA ANDREA KATZ is a consumer, a natural person
allegedly obligated to pay any debt, residingin Laguna Hills, Orange County,
Calit`ornia 92653.

4. Defendant STANISLAUS is a corporation engaged in the business
of collecting debt in this state, and maintains its corporate office at 914 14th
Street, Modesto, California 95354. The principal purpose of Dei`endant is the
collection of debts in this state and Defendant regularly attempts to collect debts
alleged to be due another.

5. Defendant is engaged in the collection of debts from consumers
using the mail and telephone Det`endant regularly attempts to collect consumer
debts alleged to be due to another. Dei`endant is a “debt coilector” as defined by
the FDCPA, 15 U.S.C. § 1692a(6), and the Cal. Civ. Code § 1788.2.

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COMPLAINT FOR DAMAGES

 

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Case 8:13-cV-01884-.]VS-DF|\/| Document 1 Filed 12/03/13 Page 3 of 11 Page |D #:

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6. Upon information and belief, within one year prior to the filing of
this complaint5 Defendant placed collection calls to Plaintiff, seeking and
demanding payment for an alleged consumer debt owed under account number
977723 73-1 .

7. On Septernber 20, 2013, Defendant sent Plaintiff correspondence in
an attempt to collect a debt on behalf of Saddleback Farnily and Urgent Care.
Plaintiff does not legally owe this debt.

8. Defendant sends Plaintit`f correspondence in an attempt to collect an
alleged debt notwithstanding the fact that Plaintiff filed for bankruptcy May 25,
2012 in the United States Banl<ruptcy Court for the Central District of California,
case number 8:12~bk-16596MW. Saddleback Family and Urgent Care was listed
as a creditor in Plaintiff` s bankruptcy petition

9. Defendant sends Piaintiff correspondence in an attempt to collect an
alleged debt notwithstanding the fact that Plaintiff’ s bankruptcy was successfully
discharged October l, 2012.

10. Defendant sends Plaintiff correspondence in an attempt to collect an
alleged debt notwithstanding the fact that Plaintiff advised Defendant that she had

completed bankruptcy proceedings and that Saddlebacl< Faniiiy and Urgent Care

 

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COMPLAINT FOR DAMAGES

 

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Case 8:13-cV-01884-.]VS-DF|\/| Document 1 Filed 12/03/13 Page 4 of 11 Page |D #

was listed as a creditor in her bankruptcy petition, and that upon discharge,
Plaintit`f no longer legally owed such debt.

ll. Defendant engaged in false and deceptive means in attempting to
collect a debt that is not legally owed.

12. Defendant’s constant and continuous calls have caused Plaintiff to
suffer emotional distress, stress, humiliation, and anxiety, among other negative
emotions.

13. 'i`he natural consequences of Defendant’s statements and actions
were to produce an unpleasant and/or hostile situation between Defendant and
Plaintiff.

COUNT I m FDCPA

14. Plaintiff repeats and realleges and incorporates by reference the
foregoing paragraphs

lS. Defendant violated the FDCPA. Defendant’s violations include, but
are not limited to the following:

i) 15 U.S.C. §1692c(a)(2);
ii) 15 U.S.C. §1692d(5);
iii) 15 U.S.C. §1692e(2)(a);

iv) 15 U.s.C. §1692@(10).

 

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COMPLAINT FOR DAMAGES

 

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Case 8:13-cV-01884-.]VS-DF|\/| Document 1 Filed 12/03/13 Page 5 of 11 Page |D #:

l6. Section 1692c(a)(2) states in pertinent part that:

(a) COMMUNICATION WITH THE CONSUMER GENERALLY
Without the prior consent of the consumer given directly to the debt
collector or the express permission of a court of competent
jurisdiction, a debt collector may riot communicate with a consumer in
connection With the collection of any debt--»

(2) If the debt collector knows the consumer is represented by an
attorney with respect to such debt and has knowledge of, or can
readily ascertain, such attorney’s name and address, unless the
attorney fails to respond within a reasonable period of time to a
communication from the debt collector or unless the attorney consents
to direct communication with the consumer.

17. Section 1692d(5) states in pertinent part that:

A debt collector may not engage in any conduct the natural
consequence of Which is to harass, oppress, or abuse any person in
connection with the collection of a debt. Without limiting the
general application of the foregoing, the following conduct is a
violation of this section:

(5) Causing a telephone to ring or engaging any person in telephone
conversation repeatedly or continuously with intent to annoy, abuse, or
harass any person at the called number.

18. Sections 1692 e(2)(a) and e(10) and state in pertinent part that:

A debt collector may not use any false, deceptive, or misleading
representation or means in connection with the collection of any debt
Without limiting the general application of the foregoing, the following
conduct is a violation of this section:

(2) The false representation of--
(a) the character, amount, or legal status of any debt.

(10) The use of any false representation or deceptive means to collect
or attempt to collect any debt or to obtain information concerning a
consumer.

 

 

 

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COMPLAINT FOR DAMAGES

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Case 8:13-cV-01884-.]VS-DF|\/| Document 1 Filed 12/03/13 Page 6 of 11 Page |D #:

CoUN"r 11 _- RFDCPA
19. Plaintitf incorporates paragraphs l ~ 17.
20. Defendant thereby Violated the following provisions of the
RFDCPA:

i) Cal. Civ. Code § 1788.17.

21. Seotion 1788.17 states in pertinent part as follows:

Notwithstanding any other provision of this title, every

debt collector collecting or attempting to collect a consumer debt
shall comply with the provisions of Sections 1692b to 1692j,
inclusive, of, and shall be subject to the remedies in Section 1692k
of, rl`itle 15 of the United States Code. However, subsection (11) of
Section 1692e and Section 1692g shall not apply to any person
specified in paragraphs (A) and (B) of subsection (6) of Section
1692a of Title 15 of the United States Code or that person's
principal. The references to federal codes in this section refer to
those codes as they read January 1, 2801.

PRAYER FOR RELIEF

WHEREFORE, the Conrt should enter judgment in favor of Plaintiff and
against Defendant for:

(1) Statntory and actual damages;
(2) Attorney’s fees, litigation expenses and costs of suit;

(3) Such other and iilrther relief as the Court deems proper.

 

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COMPLAINT FOR DAMAGES

 

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Case 8:13-cV-01884-.]VS-DF|\/| Document 1 Filed 12/03/13 Page 7 of 11 Page |D #:

RESPECTFULLY SUBl\/]]TTED,
DATED: Decernber 3, 2013 PR!CE LAW GROUP APC

     

      

By: tv wl WV y
G. Thomas Martin, 111
Attorney for Plaintiff

DEMAND FOR JURY TRIAL
PLEASE TAKE NOTICE that Plaintiff, MARClA ANDREA KATZ

demands trial by jury in this action

 

w7.

C()MPLAI`NT F()R DAMAGES

 

Case 8:13-cV-01884-.]VS-DF|\/| Document 1 Filed 12/03/13 Page 8 of 11 Page |D #:8

UNITED STA'I`ES DISTRICT COURT
CBNTRAL DISTRICT OF CALIPORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES ]UDGES

"l`his case has been assigned to l)istrict ]udge ]ames V. Selna and the assigned

l\/lagistrate ]udgc is Donglas F. McCormick

The case number on all documents filed with the Conrt should read as follows:
8:13-Cv~01884~IVS(DPMX)

Pursuant to General Order 05-0'7 of the United States l)istrict Court for the Central District of

California, the Magistrate fudge has been designated to hear discovery related motions

All discovery related motions should be noticed on the calendar of the Magistrate ]ndge.

Clerk, U. S, District Court

 

 

 

Deceinber 3, 2013 By APEDRO
Date Deputy Clerlc
N()TICE 'I`O COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (1f a removal action is

filed, a copy ofthz's notice must he served on all plaintijj%).

Sabsequent documents must be filed at the following location:

[§ Western Division |_x_"§ Soothern Division :] Eastern Division
312 N. Spring Street, G-S 411 West Fourth St., Ste 1053 3470 TWelfth Street, Room 134
Los Angcles, CA 90912 Santa Ana, CA 92701 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV‘iS {08/13) NOTICE OP ASSIGNMENF 'I`O UNITED S'i`ATES ]UDGES

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(b) Attomeys (Firm Name, Address and ?e|ephone Number. if you {b} Attoroeys {Firzn Name, Address and `l'eiephone Number. if you
are representing yourself, provide same iniorrnarion.) are representing yourse|f, provide same information.}
G.Thomas Nlartin, iii (SBN 218456)
PRlCE LAW GROUP, APC, {8§8)907-2030
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violations of the Fair §Jebt Co||ection Pract§ces Act, 15 iJ.S.C. § E692 et seq
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Case 8:13-cv-01884-.]VS-DF|\/| Document 1 Filed 12/03/13 Page 10 of 11 Page |D #:10

UNITED STATES DiSTRlCT COURT, CENTRAL BISTRiCT OF CALIFORNIA
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Vlll. VENUE: Your answers to the questions beiow W§li determine the division of the Court to which this case will most likely be initially assigned. `i'nis initial assignment
is subject to change, in accordance with the Cou:‘t's Genera| Oz'ciers, upon review by she Court of your Complaint oz Notice of Rernovai.

 

 

 

 

 

 

 

 

Question A: Was this case removed from
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Question B: fs States, or one of
its agencies or employees a party to this
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[:] Yes §\lo

if "no, " go to Queszion C. if "yes," check the £:l LOS A“QE]€S l::l L°S A“QE\ES W@St@m
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Case 8:13-cv-01884-.]VS-DFl\/| Document 1 Filed 12/03/13 Page 11 of 11 Page lD #:11
UNITED STATES DiSTRICT COURT, CE|\£TRAL £)ISTRIC'l' OF CALIFORN|A

 

ClVl¥. COVER SHEET
lX(a). lDENTlCAL CASES: i-las this action been previously filed in this court and dismissed remanded or closed? NO |:] YES
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Civii cases.ere deemed related ifa previously filed case and the present case:

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l:] B. Ca§l for determination of the same or substantially related or similar questions of law and fact; or `
l:| C. For other reasons would entail substantia§ duplication o§ labor if heard by different judges; or

[:l D. involve the same patent, trademark or copyright and one of the factors identified above in a, b or c also is present

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Notice to Counse|/Farties:The C'v'-Tt iJS~44} Civi| Cover 5heet and the information contained herein neither replace nor supplement the filing and service of pleadings or

other papers as required by law. T§~iis form, approved by the ludicia| Conference of the United States in 5epzember 1974, is required pursuant to i_ocal Rule 34 is not filed
but is used by the Cierk ofthe Court for the purpose of statistics, venue and initiating the civil docket sbeet. (For more detailed instructionsr see separate instructions sheet).

 

 

Key to Statistical codes re¥ating to Socia| Security Cases:

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A|| claims for health insurance bene§its (Nledicare) under Title iB, Part A, of the Social Security Act, as amended Aiso,

35? H|A include claims by hospita§s, skilled nursing facilities, etc., for certification as providers of services under the program
(42 U.S.C. 1935FF(bl)

862 SL Ai| claims for "B|ack Lung" benefits under Title 4, ?art B, of tbe $ederal Coaf |‘v‘line Hea|th and Safety Act of §969. (30 U.S.C.
923)

863 D]WC Aii claims filed by insured workers for disability insurance benents under Titie 2 of the SOcia| Security Act, as amended; plus
all claims filed for cbi|d’s insurance benefits based on disability. (42 U.S.C. 405 (§ll

863 D|WW A|l claims filed for widows or widowers insurance benefits based on disability under Tit|e 2 of the Social Security Act, as
amended (42 U.S.C. 405 (g))
Al| claims for supplemental security income payments based upon disability Flied under`iit|e to oftine Social Security A<:t, as

864 SS|D amended

865 RSl Ali claims for retirement (oid age) and survivors benefits under Title 2 oftbe Social Security Act. as amended

(42 U.S.C. 405 (g))

 

CV-71 (09/13l C|VlL COVER SHEET Page 3 of3

